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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

Tyler Gischel,
       Plaintiff(s),                              Case No. 1:17cv475
                                                  ( J. Dlott ; Litkovitz, M.J.)
        vs.

University of Cincinnati, et al.,
      Defendant(s).

                  ORDER SETTING SETTLEMENT CONFERENCE

       This case is hereby set for a settlement conference on Friday, December 13, 2019

at 9:00 am, at the Potter Stewart U.S. Courthouse, 100 E. 5th Street, Room 716,

Cincinnati, Ohio. The undersigned U.S. Magistrate Judge will serve as the mediator of the

settlement conference. At least 21 days prior to the Settlement Conference plaintiff

shall submit a fully documented, written settlement demand to defendant. Defendant shall

have 7 days to respond with a fully documented counter-offer.

       Not later than noon, on December 6, 2019 , each party shall submit to the

Magistrate Judge only, and without formal filing with the Clerk, a confidential letter of

five pages or less regarding potential settlement, which shall include:

       1. A statement of the factual and legal issues;

       2. An assessment of liability and damages;

       3. A statement of the strengths and weaknesses of the case;

       4. A summary of prior settlement negotiations;

       5. A proposal as to how to settle this case now; and
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       6. The names and positions of all persons who will attend the settlement

conference.

       These confidential letters will be maintained by the Court separate and apart from

the case file, and may be delivered by fax (513-564-7691) or email (litkovitz_chambers@

ohsd.uscourts.gov).

       Throughout the entirety of this settlement conference, party representatives with

complete authority to negotiate a settlement of the case shall be present “ in person”.

       Pursuant to S. D. Ohio Civ. R. 16.3(c), all statements made by the parties relating

to the substance or merits of claims or defenses made in the case, whether written or oral,

made for the first time during the settlement conference or in the settlement conference

statements required above shall be kept confidential by the Court, the parties, and counsel

and shall not be admissible in evidence for any reason during the trial of this case.

       IT IS SO ORDERED.



                                                  /s/ Karen L. Litkovitz
                                                  United States Magistrate Judge
